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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION


 In re:                                                     Chapter 15

 MtGox Co., Ltd. (a/k/a MtGox KK),                          Case No. 14-31229-sgj-15

                 Debtor in a Foreign Proceeding.


       JOINT [PROPOSED] STIPULATION AND ORDER BETWEEN THE GREENE
      PLAINTIFFS AND THE FOREIGN REPRESENTATIVE OF MTGOX CO., LTD.
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         1.    This stipulation is between Gregory Greene and Joseph Lack as class action

plaintiffs in the settlement preliminarily approved in the United States District Court for the

Northern District of Illinois (Case No. 1:14-cv-1437) (the “Greene Plaintiffs”), and Nobuaki

Kobayashi, in his capacity as the bankruptcy trustee and foreign representative (the “Foreign

Representative” and, together with the Greene Plaintiffs, the “Parties”) of MtGox Co., Ltd. (the

“Debtor”), the debtor in the above-captioned Chapter 15 case, who stipulate as follows:

         2.    The Debtor is currently the subject of a bankruptcy proceeding in Japan under

Japanese Law (the “Japanese Proceeding”), which is currently pending before the Twentieth

Civil Division of the Tokyo District Court.

         3.    The Foreign Representative seeks recognition of the Japanese Proceeding as a

foreign main proceeding pursuant to section 1517 of the Bankruptcy Code and certain other

relief, as requested in the Amended Verified Petition for Recognition and Chapter 15 Relief

[Docket No. 126] (the “Recognition Petition”).

         4.    The Parties hereby agree and stipulate that the Greene Plaintiffs do not object to

or contest: (i) the appointment of the Foreign Representative, the recognition of the Japanese

Proceeding as a foreign main proceeding and the relief requested by the Foreign Representative

in the Recognition Petition, or (ii) the Court’s jurisdiction and authority to grant such relief.

         5.    The Greene Plaintiffs believe, however, that questions regarding the proper venue

of this Chapter 15 case remain outstanding.

         6.    The Foreign Representative believes and submits that venue is appropriate in this

Court.

         7.    The Parties agree and stipulate that the Greene Plaintiffs shall have thirty (30)

days from the date of this Stipulation to file a motion to transfer venue. If the Greene Plaintiffs



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file a motion to transfer venue after such period, such motion will be considered untimely. The

Foreign Representative shall not take the position that the Greene Plaintiffs have waived their

right to challenge venue based on the passage of time following the date of this Stipulation (so

long as such motion is filed within 30 days from the date of this Stipulation); provided, however,

that the Parties otherwise reserve all rights and positions on the issue of venue, including, but not

limited to, whether a challenge to venue has already been waived.

       8.      The Foreign Representative has responded to certain discovery requests of the

Greene Plaintiffs on the issue of venue. The Parties agree and stipulate that the Greene Plaintiffs

shall be entitled to no further discovery on that issue from the Foreign Representative. The

Greene Plaintiffs reserve their right to request leave of Court to seek additional discovery from

other parties in connection with any motion to transfer venue, and the Foreign Representative

reserves the right to contest any such request.

       9.      The Greene Plaintiffs reserve all other rights, including their rights to seek

modification of any relief granted to the Foreign Representative to the extent permitted under the

Bankruptcy Code or additional relief consistent with that granted to any other party in this

Chapter 15 case. The Foreign Representative reserves all rights, including the right to contest

any such relief requested by the Greene Plaintiffs.

       11.     The Greene Plaintiffs and the Foreign Representative respectfully request that this

Court approve this Stipulation.




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Dated: June 9, 2014

Respectfully submitted,

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